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RICHARD D. EMERY
                           EMERY CELLI BRINCKERHOFF & ABADY LLP                                  DIANE L. HOUK
ANDREW G. CELLI, JR.
MATTHEW D. BRINCKERHOFF                           ATTORNEYS AT LAW                               ALISON FRICK
JONATHAN S. ABADY                      600 FIFTH AVENUE AT ROCKEFELLER CENTER                  DAVID LEBOWITZ
EARL S. WARD                                          10TH FLOOR                               DOUGLAS E. LIEB
                                              NEW YORK, NEW YORK 10020
ILANN M. MAAZEL                                                                              ALANNA KAUFMAN
HAL R. LIEBERMAN                                                                             EMMA L. FREEMAN
                                                 TEL: (212) 763-5000
DANIEL J. KORNSTEIN                                                                             DAVID BERMAN
                                                 FAX: (212) 763-5001
O. ANDREW F. WILSON                                                                            HARVEY PRAGER
                                                  www.ecbalaw.com
ELIZABETH S. SAYLOR                                                                           SCOUT KATOVICH
KATHERINE ROSENFELD                                                                            NICK BOURLAND
DEBRA L. GREENBERGER                                                                        ANDREW K. JONDAHL
ZOE SALZMAN
SAM SHAPIRO




                                                               March 19, 2020

    By ECF

    Hon. Paul S. Diamond
    United States District Court
    Eastern District of Pennsylvania

                     Re:   Stein v. Boockvar, No. 2:16-CV-6827

    Your Honor:

                    The Court should strike the proposed findings of fact (Dkt. #181) submitted by
    amicus curiae Election Systems & Software (“ES&S”). ES&S has appeared in these
    proceedings as amicus only and has not moved to intervene. The Court directed “the parties” to
    submit proposed findings of fact and conclusions of law. Dkt. #171. “An amicus is, of course,
    not a party to the litigation . . . .” Waste Mgmt. of Pa., Inc. v. City of York, 162 F.R.D. 34, 36
    (M.D. Pa. 1995).


                                                               Respectfully Submitted,

                                                               /s/

                                                               Ilann M. Maazel*

                                                               * Admitted pro hac vice

    c.      All counsel of record (by ECF)
